The payment ought, in the first place, to be applied to the discharge of the interest accrued, and if a balance of payments remains, then to deduct it from the principal. If the plaintiff received the notes as payment, the defendant should be credited from the day of the receipt; otherwise it is if he only made them his by delay and keeping them in his possession. The defendant may stop interest when he pleases by tendering the principal and interest; but it is not a legal tender to say, "Here I am, ready"; he must have the money ready also.
NOTE. — Upon the question of interest, see Bunn v. Moore, 2 N.C. 279;Yancy v. Mutter, 1 N.C.; Peebles v. Gee, 12 N.C. 341. Upon the other point, see Mills v. Huggins, 14 N.C. 58.
   Cited: Overby v. B.  L. Assn., 81 N.C. 61, [81 N.C. 56].